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                              UNITED STATES DISTRICT COURT

                            WESTERN DISTRICT OF LOUISIANA

                             LAFAYETTE-OPELOUSAS DIVISION

 UNITED STATES OF AMERICA                                  *        CRIM. NO. 06-60074-01

 VERSUS                                                    *        JUDGE DOHERTY

 ERIC JOSEPH ALEXANDER                                     *        MAGISTRATE JUDGE HILL

                                RULING ON MOTION TO SEVER

         The defendant, Eric Joseph Alexander (Alexander), has filed a motion to sever

 counts 11 and 12 from the indictment. [Record Doc. 100]. The government opposed the

 motion. [Record Doc. 111]. By a prior ruling, the court has severed count 12 of the

 superseding indictment. [Record Doc. 348].1 Therefore, the only issue remaining is the

 defendant’s motion to sever count 11.

 THE INDICTMENT 2

         The indictment charges the defendant, Eric Joseph Alexander, with multiple

 crimes including conspiracy to possess with the intent to distribute various drugs,

 possession with intent to distribute marijuana, cocaine and cocaine base (crack), unlawful

 use of a communication facility, carrying a firearm during, and in relation to, a drug



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           The court granted the government’s motion to dismiss count 12 of the original indictment
 without prejudice. [Record Doc. 149]. Thereafter, the government returned a superseding indictment
 herein. [Record Doc. 235]. The superseding indictment, due to a clerical error, re-instituted count 12.
 Accordingly, the government notified the court that the government had no opposition to severing count
 12 of the superseding indictment for a separate trial.
         2
          All references to the “indictment” herein, unless specifically noted to the contrary, refer to the
 superseding indictment returned November 14, 2007. [Record Doc. 235].
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 trafficking crime, money laundering, engaging in a continuing criminal enterprise (CCE),

 engaging in monetary transactions in property derived from unlawful activity, and

 forfeiture of various assets allegedly belonging to, or in the control of, Alexander.

        Count one of the indictment alleges that Alexander, along with others, engaged in

 a far-reaching drug conspiracy from early January 2002 to October 2006, to possess with

 intent to distribute cocaine, cocaine base (crack) and marijuana. As is often the case with

 these conspiracy indictments, the government sets out, in count one, the object of the

 conspiracy, the ways and means of accomplishing the conspiracy, and various overt acts

 done in furtherance of the conspiracy. The indictment alleges that this conspiracy

 violates the provisions of 21 U.S.C. § § 846 and 841(b)(1)(A).

        Count 11 of the indictment charges that Alexander carried a firearm (a 9

 millimeter semiautomatic pistol) during, and in relation to, a drug trafficking crime, that

 is, the conspiracy alleged in count one. The indictment alleges that act is violative of 18

 U.S.C. § 924(c)(1).

 THE MOTION TO SEVER

        The defendant argues that the incident which gives rise to count 11 occurred on

 June 16, 2005. At that time, the defendant argues that the police searched a vehicle

 owned by the defendant, Alexander, and found “a gun but no drugs”. [Record Doc. 100, ¶

 2]. The defendant goes on to argue that the offense of carrying a firearm during, and in

 relation to, a drug trafficking crime “presupposes that drugs are involved and the



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 defendant, on the date alleged, was trafficking in drugs”. Counsel for the defendant

 further states that he expects the government to concede that, at the time of the search,

 Alexander was not in possession of drugs and was not engaged in drug trafficking.

 [Record Doc. 100, ¶ 5].

        The government responds that on the date alleged in the indictment, a search of

 Alexander’s vehicle disclosed a “secret compartment” containing $1000 in cash and a .40

 caliber pistol.3 The Government goes on to argue that on that same date, and prior to the

 search, federal agents intercepted a series of telephone conversations in which Alexander

 “organized a trip to Houston by a co-defendant to pick up a large quantity of controlled

 substances”. [Record Doc. 111, page 1].

        There is no indication in the government’s response that drugs were found in the

 defendant’s vehicle at the time of the search. The government argues, notwithstanding

 the defendant’s assertion to the contrary, that the discovery of the pistol in a secret

 compartment along with $1000 in cash inferentially indicates that the purpose of the gun

 was to protect drug proceeds, and “is clearly part of the conspiracy charged in Count

 One.” [Record Doc. 111, page 3].

        Thus, apparently, the government would concede that no drugs were found in the

 vehicle at the time the search disclosed the secret compartment and the gun, but the

 government nevertheless argues that the gun was used in furtherance of, or in relation to,


        3
        The indictment alleges that the gun was a 9 millimeter pistol. The undersigned presumes that the
 government is referring to the same gun as that set out in the indictment.

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 a drug trafficking crime.4

 LAW AND ANALYSIS

                  Rule 8(a) of the Federal Rules of Criminal Procedure permits the joinder of

 two or more offenses in the same indictment, as follows:

         (a) Joinder of Offenses. Two or more offenses may be charged in the same
         indictment or information in a separate count for each offense if the offense
         charged, whether felonies or misdemeanors or both, are of the same or
         similar character or are based on the same act or transaction or on two more
         acts or transactions connected together or constituting parts of a common
         scheme or plan.

         Because Rule 8(a) is concerned with the propriety of joining offenses in the

 indictment, the Court should not look beyond the allegations in the indictment to

 determine whether the joinder is proper. See United States v. Lane, 474 U.S. 438, 447,

 106 S.Ct. 725, 731, 88 L.Ed.2d 814 (1986); United States v. Kaufman, 858 F.2d 994,

 1003 (5th Cir.1988). The Fifth Circuit’s view is that “Rule 8 is to be broadly construed in

 favor of initial joinder.” United States v. Winn, 948 F.2d 145, 161 (5 th Cir. 1991), cert.

 denied, 503 U.S. 976, 112 S.Ct. 1599, 118 L.Ed.2d 313 (1992) citing United States v.

 Davis, 752 F.2d 963, 971 (5 th Cir.1985). “Joinder of charges is the rule rather than the

 exception ....” United States v. Singh, 261 F.3d 530, 533 (5th Cir.2001). When offenses

 are joined as having the “ ‘same or similar character,’ the offenses need only be similar in

 category, not in evidence.” United States v. Hersh, 297 F.3d 1233, 1242 (11th Cir.2002)


         4
           There is, of course, no statutory requirement that the firearm be in any physical proximity to
 illegal drugs. All that is required is that the firearm be used “in furtherance of or in relation to” a drug
 trafficking crime. 18 U.S.C. § 924(c)(1).

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 citing United States v. Coleman, 22 F.3d 126, 133 (7th Cir.1994). “[R]equiring too

 precise an identity between the character of the offenses would fail to give effect to the

 word ‘similar’ succeeding the word ‘same’ and thus violate an elementary rule of

 statutory construction.” Id. at fn. 11 quoting United States v. Werner, 620 F.2d 922, 926

 (2d Cir.1980) (internal quotations omitted). Thus, the crimes need not be identical, but

 rather, only “somewhat alike”, “resembling in many respects” or “having a general

 likeness.” Id. (citations omitted); United States v. Melendez, 301 F.3d 27, 35 (1 st Cir.

 2002) (noting that “similar” does not mean “identical”).

        Moreover, the Fifth Circuit has noted that the transaction requirement of Rule 8(a)

 is flexible and “[i]t may comprehend a series of many occurrences, depending not so

 much upon the immediateness of their connection as upon their logical relationship.”

 United States v. Park, 531 F.2d 754, 760-61 (5th Cir.1976). The Fifth Circuit has found

 that crimes are of the same or similar character when counts charge violations of the same

 criminal statute, and further, that under such circumstances, a logical relationship between

 the counts exists. United States v. Duarte, 52 F.3d 1067 (5 th Cir. 1995) (unpublished).

 See also United States v. Dillon, 2006 WL950104 (E.D.La. 2006) (finding counts

 properly joined because the alleged rapes involved the same statute and similar conduct,

 the sexual assault of women under the color of law).

        Notwithstanding proper joinder under Rule 8, severance of counts charged in the

 same indictment may be ordered if the joinder is prejudicial. Rule 14, Fed.R. Crim. P; see



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 also, United States v. Krenning, 93 F.3d 1257, 1267 (5 th Cir. 1996) (“Relief from

 prejudicial joinder may be had under Rule 14 if the defendant can demonstrate “specific

 and compelling prejudice.”) citing United States v. McCord, 33 F.3d 1434, 1452 (5 th

 Cir.1994), cert. denied, 515 U.S. 1132, 115 S.Ct. 2558, 132 L.Ed.2d 812 (1995).

        Rule 14 of the Federal Rules of Criminal Procedure provides:

        If it appears that a defendant or the government is prejudiced by a joinder of
        offenses or of defendants in an indictment or information or by such joinder for
        trial together, the court may order an election or separate trials of counts, grant a
        severance of defendants or provide whatever other relief justice requires. In ruling
        on a motion by a defendant for severance the court may order the attorney for the
        government to deliver to the court for inspection in camera any statements or
        confessions made by the defendants which the government intends to introduce in
        evidence at the trial.


        The existence of prejudice depends on the facts and circumstances of each case;

 the burden of demonstrating prejudice is a difficult one. Park, 531 F.2d at 762. The

 Supreme Court has noted that, “Rule 14 does not require severance even if prejudice is

 shown; rather, it leaves the tailoring of the relief to be granted, if any, to the district

 court’s sound discretion.” Zafiro v. United States, 506 U.S. 534, 538-39, 113 S.Ct. 933,

 938, 122 L.Ed.2d 317 (1993).

        The Fifth Circuit has specifically rejected the assertion that being tried on multiple

 counts is sufficient prejudice, in and of itself, to require separate trials, instead finding

 that in such situations “any possible prejudice can be cured by proper jury instructions

 administered by the district court.” United States v. Butler, 429 F.3d 140, 147 (5 th Cir.



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 2005) citing United States v. Bullock, 71 F.3d 171, 175 (5 th Cir. 1995). This is the case

 because juries are presumed to follow the instructions they are given. Bullock, 71 F.3d at

 175 citing Zafiro, 506 U.S. at 540.

        The defendant relies on United States v. Singh, in support of his argument for

 severance. In Singh, the defendant was charged with harboring illegal aliens and being a

 felon in possession of a firearm. The Fifth Circuit said that because there was no evidence

 that Singh's alleged possession of the gun had any connection to his housing and hiring of

 illegal aliens, the gun count was unrelated to the harboring count. Thus, initial joinder

 was not appropriate. Id. at 533.

        The defendant’s reliance on Singh is clearly misplaced. Even if, as the defendant

 asserts, no illegal drugs were found at the time of the search, that does not mean that the

 gun, which was admittedly hidden in the defendant’s vehicle, could not have been used in

 furtherance of a drug trafficking crime.

        In addition to the conspiracy charged in count one, the indictment charges the

 defendant, in count 14 (the CCE count), with occupying “a position of organizer, a

 supervisory position, and a position of management, and from which the defendant . . .

 obtained substantial income and resources. Clearly, the government alleges that

 Alexander was the principal organizer of this rather large drug organization. The

 indictment further alleges that this organization operated for over four and one half years.




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        As the government points out, many cases recognize that guns and similar items

 are “tools of the trade” of drug trafficking. United States v. Martinez 808 F.2d 1050,

 1057 (5 th Cir.1987) (“This Court has recognized that firearms are “tools of the trade” of

 those engaged in illegal drug activities and are highly probative in proving criminal

 intent.”)

        It is also well known, and generally accepted, that the illegal drug trade is a “cash

 business”. Therefore, the jury could well conclude that the possession of a pistol in close

 proximity to a large amount of cash, both of which were concealed in a hidden

 compartment, was in furtherance of the drug conspiracy set out in the indictment. This is

 not a case, like Singh, where the weapon has little or no relation to the other charges in

 the indictment; quite the contrary is true. Here, the firearm is, at least arguably, closely

 connected to the drug conspiracy charged in count one.

        Under these circumstances, it is clear that count 11, which charges that the

 defendant carried a firearm in relation to a drug trafficking crime, that is, the conspiracy

 charged in count one of the indictment, is properly joined in this indictment. The

 indictment alleges that Alexander operated a large-scale illegal drug business. As a part

 of that business the government alleges that he engaged in money-laundering and illegal

 monetary transactions. It is certainly reasonable for the government to argue, as it does

 here, that the purpose of the gun was to protect drug proceeds. At the very least, the jury

 could well find that the gun was intended for the defendant’s personal protection while he


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 was engaged in his illegal drug business.

         Clearly, the possession of a firearm for personal protection by the organizer of a

 large-scale illegal drug operation, or the use of a gun to protect drug proceeds, is, at the

 very least, a part of the common scheme or plan carried out by the defendant in

 furtherance of this drug conspiracy. Stated another way, count 11 is logically related to

 the other counts in the indictment. Park, supra. Joinder of count 11 in this indictment is

 therefore proper under Rule 8.5

         May 17, 2008, Lafayette, Louisiana.




         5
           The defendant does not argue that Rule 14, Fed. R. Crim. P., requires severance. Any such
 argument would clearly be unavailing. While there is no doubt that the evidence that the defendant had a
 pistol in his truck damages his case, there is also no real doubt of its admissibility. If the gun is
 admissible at trial, which the undersigned believes it to be, there is no Rule 14 violation in the count
 charging the possession of the gun being joined with the other counts in this indictment.

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